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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                Eastern Division

 Gorss Motels, Inc., et al.
                                                Plaintiff,
 v.                                                            Case No.: 1:17−cv−01011
                                                               Honorable Jorge L. Alonso
 American Hotel Register Company, et al.
                                                Defendant.



                          NOTIFICATION OF DOCKET ENTRY



 This docket entry was made by the Clerk on Thursday, April 21, 2022:


         MINUTE entry before the Honorable Jorge L. Alonso:At the parties' request,
 telephonic status hearing previously set for 4/22/22 is stricken and reset to 5/23/22 at 9:30
 a.m. Members of the public and media will be able to call in to listen to this hearing. The
 call−in number is 888−808−6929 and the access code is 4911854. Counsel of record will
 receive an email 30 minutes prior to the start of the telephonic hearing with instructions to
 join the call. Persons granted remote access to proceedings are reminded of the general
 prohibition against photographing, recording, and rebroadcasting of court proceedings.
 Violation of these prohibitions may result in sanctions, including removal of court issued
 media credentials, restricted entry to future hearings, denial of entry to future hearings, or
 any other sanctions deemed necessary by the Court. Notice mailed by Judge's staff (lf, )




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 Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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 refer to it for additional information.

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